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                                                                             .uns-,^tRICT COURT
                                                                             MIDDLE DISTRICT'OF LOLUS?ANA
                                UNITED STATES DISTRICT C01?RT
                                MIDDLE DISTRICT OF LouisLpD JUL                           2 5 2019
ESROM DEMEKE                                                                     J CIVIL ACTION i
                                                                                  NO. i©L6ffiKJ-™t'

VERSUS

BOARD OF SUPERVISORS OF
LOUISIANA STATE UNIVERSITY
AND A&M COLLEGE, ET AL.


                                        JOINT STATUS REPORT

A. JUmSDICTION

    What is the basis for the jurisdiction of the Court?

Plaintiff:

         Plaintiffs claims involve questions of federal law, original jurisdiction exists under Title

II of the Americans with Disabilities Act of 1990, as amended (the "ADA"), 42 U.S.C. § 12131,

et seq:. Section 504 of the Rehabilitation Act of 1973 ("Section 504"), 29 U.S.C. § 794, et seq.\

the Fourteenth Amendment, 42 U.S.C. § 1983; and Title VII of the Civil Rights Act of 1963.

Defendants - LSU Employees1:


    1. Sovereign Immunity


          Federal courts are courts of limited jurisdiction," and "possess only that power authorized


by the Constitution and statute." Kokkonen v. Guardina Life Ins. Co of Am., 511 U.S. 375, 377


(1994) (internal citations omitted). Under Fed. R. Civ. P., Rule 12(b)(l), "[a] case is properly

dismissed for lack of subject matter jurisdiction when the court lacks the statutory or constitutional


power to adjudicate the case." Home Builders Ass 'n of Mississippi, Inc. v. City of Madison, 143 F.




' F. King Alexander, Chelsie Bickei, Stacia Haynie, Kurt Keppler, Matt Lee, Jonathan Sanders, Dawn Sousa-Hearn,
Mayank Tyagi and Judy Wornat, in their individual and official capacities, (collectively "LSU Employees").
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3d 1006, 1008 (5th Cir. 1998) (internal citations omitted). Plaintiffs claims against the LSU

Employees are barred by sovereign immunity. Sovereign immunity operates as "a jurisdictional


bar, depriving federal courts of the power to adjudicate suits against a state." Union Pacific Railroad


Co. v. La. Public Service Comm ln, 662 F.3d 336, 340 (5th Cir. 2011). A suit "against a state official


in his or her official capacity is not a suit against the official but rather is a suit against the official's

office." Will v. Michigan Dep't of State Police, 491 U.S. 58, 71 (1989). Sovereign immunity extends


to state officials sued in official capacities because such suits are actually against the state. New


Orleans Towing Ass 'n, Inc. v. Foster, 248 K3d 1143 (5th Cir. 2001).


        State employees and officials are not persons subject to liability and cannot be sued for

monetary damages under 42 U.S.C. § 1983, Perez v. Region 20 Education Service Center, 307 F.3d


318, 326 (5th Cir. 2002). Longstanding jurisprudence on the applicability of sovereign immunity

to state officials makes the 42 U.S.C. §T 983 claim clearly unfounded entitling the LSU Employees,

named in their official capacities to dismissal of the 42 U.S.C. §1983 claims.


        All claims for monetary damages against the LSU employees in their official capacities

must be dismissed with prejudice at Plaintiffs cost.

       2. Federal Question


       Plaintiff asserts claims under both federal and state laws. If all of Plaintiffs federal law

claims are dismissed, this Court would lack Jurisdiction over the state law claims.

Defendant - LSU Board2:


       1. Sovereign Immunity


       The Eleventh Amendment bars an action for monetary damages by a private individual in

federal court against a sovereign state and its agencies and officials. Seminole Tribe of Florida v.




 Board of Supervisors of Louisiana State University and A&M College

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Florida, et at, 517 U.S. 44 (1996); Kimel v. Florida Bd. of Regents, 528 US. 62 (2000). The

Supreme Court has "consistently held that an unconsenting State is immune from suits brought in


federal court by her own citizens as well as citizens of other States." Edelman v. Jordan, 415 U.S.


651, 662-63, (1974) (citing Hans v. Louisiana, 134 U.S. 1, 10 (1890). The scope of the Eleventh

Amendment extends to actions against state agencies or entities classified as "arms of the state."


Regents of the University ofCa. v. John Doe, 519 U.S. 425, 429 (1997).

       Applying Richardson v. Southern University, 118 F. 3d 450, 453 (5th Cir. 1997), the Fifth

Circuit held that the board of supervisors for Southern University, a public university, is an arm of


the State of Louisiana and, as such, are entitled to Eleventh Amendment Immunity." Likewise, in


Board of Trustees of University of Alabama v. Garrett^S3\ US. 356, 363-365 (2001) the Supreme

Court held that the University of Alabama Board Of Trustees was protected under the Eleventh

Amendment from suit under the ADA as it is an entity of the State of Alabama.

       Plaintiff brings these claims as a private individual against a Board of Supervisors as an


entity, Plaintiffs ADA claims are ban-ed by the Eleventh Amendment, and this Court lacks subject

matter jurisdiction on the ADA claims. The LSU Board is entitled to sovereign immunity with

respect to Plaintiffs federal claims therefore, this Honorable Court lack jurisdiction over

Plaintiffs Claims.

       2. Federal Question


       Plaintiff asserts claims under both federal and state laws. If all of Plaintiffs federal law

claims are dismissed, this Court would lack jurisdiction over any remaining state law claims.
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B. BRIEF EXPLANATION OF THE CASE

     1. Plaintiffs claims:


     Since Fall 2016, Plaintiff, a qualified student with disabilities, has been and continue to be

     irreparably banned by LSU's denial of his civil right to reasonable accommodations3, a right

     protected by Title II of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§

     12131-12134 ('Title II" and "ADA"), Section 504 of the Rehabilitation Act of 1973, as

     amended, 29 US.C. § 794 ("Section 504"), and their implementing regulations. 28 C.F.R. pts.


     35, 41, and 42, subpart F; 34 C.F.R. pt. 104, subpart E (postsecondary education).


     Furthermore, Plaintiff claims that defendants 1) Ms. Rachel L. Champagne ("Ms.

     Champagne"), 2) Ms. Dawn Sousa-Hearn ("Ms. Sousa-Heam"), and 3) Dr. Mayank Tyagi


     ("Dr Tyagi") maliciously retaliated against him for speaking up against their discriminatory

     practices based on race, national origin, and disabilities and for filing complaints with the U.S.


     Department of Education, Office for Civil Rights ("OCR"), the U. S. Department of Justice,

     and the university. And, defendants 4) Dr Jonathan Sanders ("Dr Sanders") and 5) Ms. Chelsie


     Bickel ("Ms. Bickel") conspired with Ms. Champagne and Ms. Sousa-Heam to violate


     Plaintiffs Civil and Constitutional Rights by falsifying a decision made by the Dean of

     Students on an appeal. And, defendants 6) Dr. F. King Alexander ( "Dr. Alexander"), 7) Dr.


     Stacia Haynie ("Dr Haynie")4, 8) Dr. Matt Lee ("Dr Lee"), 9) Dr. Kurt Keppler ("Dr.


    Keppler"), and 10) Dr. Judy Womat ("Dr. Womat"), (hereinafter collectively referred as (the

    "Administrator Defendants") had actual knowledge of violations of plaintiffs rights by




3 Plaintiff is using the term "accommodation" throughout this Status Report and the Complaint as synonymous with
the modification of policies, practices, and procedures; the provision of auxiliary aids and services; academic
adjustments and modifications to the environment intended to remove barriers to equivalent access.

4 Plaintiff is only suing Dr. Haynie in her official capacity as the Provost of LSU-Baton Rouge. Plaintiff is suing the
Office of the Provost not Dr. Haynie in her individual capacity.
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defendants because Plaintiff reported it to all Administrator Defendants (except Dr Haynie) by

writing to them regarding the discriminatory practices of defendants 1 through 5. However, the


Administrator Defendants choose to acquiesce in the violation. And made no attempt to


respond to Plaintiffs pleas for investigation as stated in LSU's Permanent Memorandum m 55


(PM-55), which states the Complaint Procedure ofLSU as follows:

   II. COMPLAINT PROCEDURE

   This complaint procedure applies to all campuses and shall be included in each campus
   policy:

             1. Any member of the University community who believes that he or she has been
                 subjected to discrimination and/or harassment in violation of this policy has a
                 right to report the conduct to any University official, supervisor, the campus
                 Office of Human Resource Management, or individual responsible for the
                - campus Human Resources function. No student or employee is required to
                 report or make a complaint of discrimination and/or harassment to the person
                 who is engaging in the problematic conduct.


             2. Any individual who receives a complaint or becomes aware of a possible
                 violation of this policy will immediately notify the Campus Office of Human
                Resource Management or individual responsible for the campus Human
                Resources function to obtain advice and assistance in responding to the
                complaint.


             3. Each campus policy will designate an individual or individuals to investigate
                 the complaint. This may be an individual in the campus office of Human
                 Resource Management. If the designee(s) is not an individual in the Office of
                Human Resource Management, that office shall assist the designee in
                investigating the complaint.


             4. The complainant and the individual who is the subject of the complaint will be
                 notified about its resolution. Information obtained regarding the complaint will
                 be treated as confidentially as possible with only those with a need to know
                 being informed of the complaint. 5. The individual responsible for investigating
                the complaint, in conjunction with the Office of Human Resource Management,
                shall report his/her findings and recommendations to the President (in case of
                complaints arising in the System Office), Chancellor, or his designee. 6.
                Substantiated violations of this memorandum and/or campus policy will result
                in appropriate discipline or corrective action.
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2. Defendants -LSU Employees' claims:


         The LSU Employees deny any violation of Title II of the Americans with Disabilities Act

of 1990, as amended, 42 U.S.C. §§ 12131-12134 ("Title IF and "ADA"), Section 504 of the

Rehabilitation Act of 1973, as amended, 29 U.S.C. § 794 ("Section 504"), and their implementing

regulations, 28 C.F.R. pts. 35, 41, and 42, subpart F; 34 C.F.R. pt 104, subpart E (postsecondary


education), PM-55 and any other violation alleged in the Complaint (Doc. 1).

    A. Qualified Immunity Bars Claims

         Qualified immunity protects public employees and officials from individual capacity suits

under 42 U.S.C. § 1983 for performance of "discretionary duties when their actions are reasonable


regarding the rights allegedly violated. Good v. Curtis, 601 F.3d 393,400 (5th Cir. 2010). "Several

federal courts have unwaveringly determined that Louisiana's public universities, including LSU,


are to be treated as arms of the State of Louisiana. Jarvis v. Louisiana State Univ. Health Science


Ctr., 2007 WL 2993862, p. 3 (E.D. La. 2007). Since Plaintiff recognizes the individual defendants

are LSU officials, damage claims against these officials must be dismissed.


         The qualified immunity inquiry comprises two questions: (1) whether the defendant

violated the plaintiffs constitutional rights" and (2) whether that right was clearly established.

Courts have discretion to skip the first inquiry and resolve a case solely on clearly established


grounds."5 Before the U.S. Fifth Circuit Court of Appeals issued its 2018 opinion in Sims v. City


ofMadisonville, the law was unsettled whether a aon-decision-maker defendant can be held liable


for a claim pursuant to 42 U.S.C. §1983. A "clearly established" law must so clearly and


unambiguously prohibit an official's conduct that "every reasonable official would have




5 Sims v. City of Madisonville, 894 F.3d 632, 638 (5th Cir. 2018) (citing Pearson v. CaUahan, 555 U.S. 223,240
  (2009)).
6 Buchanan v. Alexander, 919 F. 3d 847, (5th Cir. 2019).
Sims, 894 F.3d at 638, 640; Culbertson v. Lykos, 790 F.3d 608, 627 (5th Cir. 2015).
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understood that what he is doing violates that right" and existing precedent placed the question

beyond debate. Ashcroftv. Al-Kidd, 563 U.S. 731, 741 (2011).

        Plaintiff failed to allege any actions or inactions of the LSU Employees other than actions

taken in their official capacities. In the event this Honorable Court determines sufficient facts were


pled against the LSU Employees in their individual capacities, the LSU Employees are entitled to

qualified immunity. The allegations make it clear that the LSU Employees were not the final

decision-makers. Plaintiff alleges that he appealed decisions of the LSU Employees to others.


       Accordingly, the LSU Employees their individual capacities are entitled to dismissal of

Plaintiffs claims at Plaintiffs cost for failure to state a claim upon which relief can be granted.

    B. Statute of Limitations Bars Claims


       Plaintiffs allegations arise solely out of an incident which occurred in the fall of 2017

which he acknowledges in paragraph 28 of the Complaint, he became aware of on December 11,


2017. The statute of limitations for claims under 42 U.S.C. §1983 is one year. Violations which


are discrete acts cannot be aggregated for a "continuing violation" argument. Van Heerden v.


Board of Sup }rs of Louisiana State Univ., 2011 WL 5008410, p. 8 (M.D. La. 2011) citing

O'Connor v. City of Newark, 440 F. 3de 125 (3d Cir. 2006). The instant suit was filed more than

a year later on February 22,2019.


   Accordingly, the Plaintiffs claims are barred by the one year statute of limitations applicable

to discrimination claims and must be dismissed with prejudice at Plaintiffs cost.

   C. Louisiana Administrative Procedures Act Inapplicable


       Plaintiff alleges he was not provided adequate notice or opportunity to respond to alleged

violation of the Code of Student Conduct in violation of the Louisiana Administrative Procedures
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Act ("LAPA").7 While it is doubtful the Louisiana Administrative Procedures Act is applicable to

determinations made under the Code of Student Conduct, if the LAPA applies. La. R.S. 49:964


requires proceedings to review an adjudication to, "be instituted by filing a petition in the district

court of the parish in which the agency is located within thirty days after the transmittal of notice

of the final decision by the agency or, if a rehearing is requested, within thirty days after the

decision thereon." Paragraphs 39-45 of the Complaint reference the Code of Student Conduct


violation at issue.


         Plaintiff alleges the decision was made on July 10, 2018, appealed to a Hearing Panel and

then upheld by the Dean of Students on August 8, 2018. There is no allegation that a timely appeal

of the determination was filed in the district court within thirty days. Any appeal of the

determination made on August 8, 2018 would be preempted or prescribed after 30 days from

transmittal of the notice to Plaintiff.

         Accordingly, the claim pursuant to the Louisiana Administrative Procedures act are barred


by the time limitations set forth in La. R.S. 49:964 must be dismissed with prejudice at Plaintiffs

cost.


     D. No Breach of Contract


    Plaintiff alleges the failure to follow LSU's own policies and procedures, particularly the Code

of Student Conduct constitutes a breach of contract. Louisiana law is well-established that


university policies and procedures such as those found in the Code of Student Conduct do not


create binding contractual obligations. This Court has specifically referred to the "Louisiana


jurisprudence on the non-contractual nature of faculty handbooks and university policies" in van


Heerdenv. Bd. of Sup'rs of Louisiana State Univ. &Agr. &Mech. Colt, 2011 WL 5008410 at *13




7 Doc. 1, para. 86
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(M.D. La. Oct. 20, 2011). Handbooks, catalogs, and codes of conduct do not create binding


contractual obligations because they are unilateral expressions subject to change at any time. The


publishing of the policies and procedures does not evidence any meeting of the minds between the

LSU Defendants and Plaintiff. Louisiana jurisprudence holds employee handbooks and policies

do not create contractual rights with university employees. Stanton v. Tulane University of


Louisiana, 2000-0403 (La. App. 4th Cir. 1/10/01), 777 So.2d 1242 and Marson v. Northwestern

State University, 607 So.2d 1093 (La. App. 3d Cir. 1992).

         Courts in other jurisdictions have concluded a university's undergraduate catalog does not


create a binding contract with the student. Carr v. Board of 'Regents, 249 Fed. Appx. 146 (11th


Cir. 2007); Doe v. Marymount University, 297 F. Supp. 3d 573 (E.D. Va. 2018); Tran v. State


System of Higher Educ., 986 A.2d 179 (Pa. Cmwlth. 2009).

3. Defendants - LSU Board claims:


         The LSU Board of Supervisors denies any violation of Title II of the Americans with

Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12131-12134 ("Title II" and "ADA"), Section

504 of the Rehabilitation Act of 1973, as amended, 29 U.S.C. § 794 ("Section 504"), and their

implementing regulations. 28 C.F.R. pts. 35, 41, and 42, subpart F; 34 C.F.R. pt. 104, subpart E


(postsecondary education), PM-55 and any other violation alleged in the Complaint (Doc. 1).


         The LSU Board adopts the claims of LSU Employees regarding Qualified Immunity,

Statute of Limitations, Louisiana Administrative Procedures Act and Breach of Contract set forth

above.
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  C. PENDING MOTIONS

      List any pending motion(s), the date filed, and the basis of the motion(s):

  Plaintiff:

      On July 25, 2019, Plaintiff will be filing a Motion for Extension of Time to Oppose the

  Motion of Defendants to Dismiss the Complaint Pursuant to Rule 12(b), filed with this Court

  by Defendants on July 5, 2019. Plaintiff is filing a motion for extension of time (first request)

  because, as a pro se litigant with no legal background, his knowledge is very limited and he


  needs to do substantial amount of research in order to write a motion that actually makes sense

  to this Honorable Court opposing the Defendants' motion.


  Defendants - LSU Employees:


     Motion to Dismiss Pursuant to Rule 12(b)(6) filed on July 5,2019, (Doc. 19).

  Defendant -LSU Board:


     Motion to Dismiss Pursuant to Rule 12(b) filed on July 5, 2019, (Doc. 20).

D. ISSUES

     List the principal legal issues involved and indicate whether or not any of those issues are

     in dispute:

     Plaintiff:

     1) Whether Plaintiff was subjected to discrimination because of his disabilities based on

         Title II and Section 504.

     2) Whether Plaintiff was subjected to discrimination because of his race and national

         origin.


     3) Whether Defendants are liable for retaliation.




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   4) Whether Defendants are liable for violating Plaintiffs rights under the Fourteenth

       Amendment (Equal Protection).

   5) What damages are Plaintiff entitled to receive.

   6) Whether Defendants are liable for intentional inflictkm of emotional distress.

   7) Whether the Administrator Defendants are liable for their silent acceptance of the

      discrimination.


   8) Whether the Administrator Defendants are liable for their deliberate indifference to the

      consequences, established and maintained a policy that discriminates against minority


      qualified disabled students by 1) selectively choosing students and offering to pay for

      their psychological screening at LSU's Psychological Center in order to approve their


      accommodations request, and 2) refusing the same opportunity to the Plaintiff, and


      requesting him to undergo expensive outside screening procedure that would cost him


      more than $2000.00.


   9) Whether Defendants violated Plaintiffs Constitutional rights.

Defendants LSU Employees and LSU Board:

   1. Whether plaintiff stated any claims against the LSU Board upon which relief can be
      granted.


  2. Whether Plaintiff stated any claims upon which relief can be granted against:

      a. The LSU Board:


      b. F. King Alexander, individually or in his official capacity;

      c. Chelsie Bickel, individually or in his official capacity;

      d. Stacia Haynie, in her official capacity;


      e. Kurt Keppler, individually or in his official capacity;

      f. Matt Lee, individually or in his official capacity;


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            g. Dawn Sousa-Hearn, individually or in her official capacity:


            h. Jonathan Sanders, individually or in his official capacity;

            i. Mayank Tyagi, individually or in his official capacity;

            j. Judy Womat, individually or in his official capacity;

        3. Whether Plaintiffs claims are barred by sovereign immunity.


        4. Whether Plaintiffs claims are barred by qualified immunity.

        5. Whether Plaintiffs claims are barred by the statute of limitations.


        6. Whether the Louisiana Administrative Procedures Act is applicable to the Hearing

            Panel.


        7. Whether LSU's policies create contractual rights.


E. DAMAGES

Separately, for each party who claims damages or an offset, set forth the computation of damages


or the offset:


        1. Plaintiffs calculation of damages:


            Plaintiff is willing to accept the Jury's or the Magistrate Judge's calculation of
            damages.


        2. Defendant's calculation of offset and/or plaintiff s damages:


            Defendants LSU Employees and LSU Board:

            LSU Employees and LSU Board dispute Plaintiff is entitled to monetary damages. If

            monetary damages are awarded, monetary damages should be reduced by any


            delinquent fees and tuition, interest and the costs incurred for collection.


       3. Counterclaimant/cross claimant/third paity's calculation of damages: Not applicable.

F. SERVICE:

       Identify any unresolved issues as to waiver or service of process, personal jurisdiction, or


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     venue:


     Plaintiff:

     One of the Defendants, Ms. Rachel L. Champagne has not been served by the United States


     Marshall Services as of July 25, 2019.

G. DISCOVERY

  1. Initial Disclosures:


     A. Have the initial disclosures required under FRCP 26(a)(l) been completed?

              [ ] YES [X] NO

         In accordance with Local Rule 26(b), the parties shall provide their initial disclosures

     to the opposing party no later than 7 days before the date of the scheduling conference,


     unless a party objects to initial disclosures during the FRCP 26(f) conference and states the

     objection below.


     B. Do any parties object to initial disclosures?

              [X] YES [ ] NO
         For any party who answered yes, please explain your reasons for objecting.

         Defendants, LSU Employees and LSU Board, object to initial disclosures prior to

     disposition of the pending Motions to Dismiss (Docs. 19 and 20) to avoid disclosure of

     information related to dismissed claims.


 2. Briefly describe any discovery that has been completed or is in progress;


     By plaintiff(s): None.

     By defendants LSU Employees: None.


     By defendants LSU Board: None.




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  3. Please describe any protective orders or other limitations on discovery that may be


     required/sought during the course of discovery. (For example: are there any confidential


     business records or medical records that will be sought? Will information that is otherwise

     privileged be at issue?)

     Plaintiff, LSU Employees and LSU Board agree that plaintiffs medical and academic

     records should be subject to a protective order.


  4. Discovery from experts:


     Identify the subject matter(s) as to which expert testimony will be offered:

     By plaintiff(s): Plaintiffs primary care physician regarding medical diagnosis and

     treatment.


     By defendants - LSU Employees and LSU Board: Psychologist or psychiatrist to offer

     expert testimony of the disabilities claimed by plaintiff and the appropriateness of

     accommodations requested by Plaintiff.


H. PROPOSED SCHEDULING ORDER

     1. If the parties propose an alternative timeframe for exchanging initial disclosures, please


        provide that proposed deadline: Parties propose exchanging initial disclosures within

        21 days of ruling on pending Motions to Dismiss (Docs. 19 and 20).

     2. Recommended deadlines to join other parties or to amend the pleadings: 30 days after

        Initial Disclosures.


     3. Filing all discovery motions and completing all discovery except experts: May 7,2020.


     4. Disclosure of identities and resumes of expert witnesses (if appropriate, you may


        suggest different dates for disclosure of experts in different subject matters):

            Plaintiff(s): January 8, 2020



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       Defendants): Febmary 7, 2020

5. Exchange of expert reports:


       Plaintiff(s): March 20, 2020

       Defendants): March 24, 2020

6 Completion of discovery from experts: April 20, 2020

7. Filing dispositive motions and Daubert motions: May 29. 2020

8. All remaining deadlines and the pre-trial conference and trial date will be included in

   the initial scheduling order. The deadlines will be determined based on the presiding

   judge's schedule, within the following general parameters. 1 The parties should not

   provide any proposed dates for these remaining deadlines.


   a. Deadline to file pre-trial order (approximately 16 weeks after dispositive motion


       deadline).

   b. Deadline to file motions in limine (approximately 20-22 weeks after dispositive

       motion deadline).


   c. Deadline to file an affidavit of settlement efforts (approximately 22-24 weeks after

       dispositive motion deadline).

   d. Deadline to submit joint jury instructions, voir dire, verdict forms, and trial briefs


      to the presiding judge (approximately 25-27 weeks after dispositive motion

      deadline).

   e. Pre-trial conference date (approximately 18-20 weeks after dispositive motion


      deadline).

   f. Trial date (approximately 27-29 weeks after dispositive motion deadline).




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    9. If the general outline of proposed deadlines does not fit the circumstances of your


        particular case, please provide a proposed joint schedule of deadlines which is more


        appropriate for your case.


I, TRIAL

    1. Has a demand for trial by jury been made?

                    [X] YES [ ] NO

    2. Estimate the number of days that trial will require. 5


J. OTHER MATTERS

    Are there any specific problems the parties wish to address at the scheduling conference?


                    [X] YES[ ] NO

            L If the answer is yes, please explain: Pending motions.


           ii. If the answer is no, do the parties want the court to cancel the scheduling


           conference and to enter a scheduling order based on the deadlines set out in this


           report? CHECK "NO" IF YOU HAVE NOT SUBMITTED JOINT

           PROPOSED DEADLINES.

                   [ ] YES [X] NO

K. SETTLEMENT

    1. Please set forth what efforts, if any, the parties have made to settle this case to date.


       On July 24, 2019 Plaintiff and counsel for LSU Employees and LSU Board discussed

   terms upon which Plaintiff would be willing to settle this case. Counsel for LSU

   Employees and LSU Board will discuss the possibility of a resolution upon terms which

   Plaintiff may be willing to settle this case. Due to the nature of the settlement request

   researching the possibility of a settlement in this case will take several weeks.




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       2. Do the parties wish to have a settlement conference:


                       [X] YES [ ] NO

       If your answer is yes, at what stage of litigation would a settlement conference be most


       beneficial? After disposition of the pending motions.

L. CONSENT TO JURISDICTION BY A MAGISTRATE JUDGE

    You have the right to waive your right to proceed before a United States District Judge and

    may instead consent to proceed before a United States Magistrate Judge.


    Indicate whether, at this time, all parties will agree, pursuant to 28 U.S.C. § 636(c), to have


    a Magistrate Judge handle all the remaining pretrial aspects of this case and preside over a


    jury or bench trial, with appeal lying to the United States Court of Appeals for the Fifth

    Circuit.


    All parties agree to jurisdiction by a Magistrate Judge of this court:

       Plaintiff:

       [X ] YES [ ] NO

       Defendants:
       [ ] YES [X] NO

If your response was "yes" to the preceding question, all attorneys and unrepresented parties


should sign the attached form to indicate your consent.




Report dated: July 25, 2019 f/^l^^ A/^/
                                                          Esrom Demeke, Pro Se Plaintiff

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                      CERTIFICATE OF SERVICE

             I, thg^ undersigned, hereby certify that on^^ ^ ^ ^               f, a copy of the

foregoing .^<A-/ C^cfwl l^pl^-^-
was manually filed with the Clerk of the Court.

             Notice of this filing will be forwarded by mail and e-mail to all parties listed as

follows:




                                             I)     Sheri M. Morris, Counsel for LS G<-

                                                    8480 Bluebonnet Blvd,, Suite F

                                                    Baton Rouge, LA 70810

                                                    Office; (225) 421-1800

                                                    Mobile: (225) 229-0803




                                                                                      ^
                                                    Re^ppctfully submitted this ^ day of
                                                                     ,2019.


                                                    By:


                                                     f\o^^ s^-^
                                                    ESROM DEMEK, Pro Se Litigant
                                                    5959 Burbank Dr. Unit 1624
                                                    Baton Rouge, LA 70820
                                                    phone: 571-306-9137 I email:
                                                    edemekl@lsu.edu
